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13
                            UNITED STATES DISTRICT COURT
14

15                         CENTRAL DISTRICT OF CALIFORNIA

16                                           )
      PAVEL FUKS, an individual,             )   Case No.: 8:19-cv-1212- FLA (JDEx)
                                             )
17                                           )

18                   Plaintiff,
                                             )   PLAINTIFF PAVEL FUKS’
                                             )
                                             )   NOTICE OF LODGING
19     vs.                                   )   [PROPOSED] JUDGMENT IN A
                                             )
20                                           )   CIVIL ACTION
                                             )
      YURI VANETIK, an individual,           )
21                                           )

22                Defendant.
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                        PLAINTIFF PAVEL FUKS’ NOTICE OF LODGING
                         [PROPOSED] JUDGMENT IN A CIVIL ACTION
     Case 8:19-cv-01212-FLA-JDE Document 101 Filed 07/26/22 Page 2 of 2 Page ID #:872




 1          Pursuant to the Court’s July 19, 2022 Order Following Bench Trial, Dkt.
 2    No. 100, Federal Rule of Civil Procedure 52 and 58, and Local Rule 52-4, Plaintiff
 3    Pavel Fuks hereby lodges the attached [Proposed] Judgment In A Civil Action.
 4          Per Local Rule 58-7 also attached is a memorandum indicating the amount
 5    of interest to be added to the [Proposed] Judgment for each day it remains
 6    unsigned.
 7          Per Local Rule 52-6, the [Proposed] Judgment In A Civil Action will be
 8    served on Defendant Yuri Vanetik’s counsel via the Court’s CM-ECF system
 9    concurrent with the filing of this notice of lodging.
10

11    DATED: July 26, 2022                    ASHBY LAW FIRM P.C.
                                              Joseph R. Ashby
12
                                              EVERSHEDS SUTHERLAND LLP
13
                                              William T. O’Brien
14                                            John W. Lomas, Jr.
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                                              By: ___/s/ Joseph R. Ashby_____________
16                                                  Joseph R. Ashby
17                                            Attorneys for Plaintiff Pavel Fuks

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                         PLAINTIFF PAVEL FUKS’ NOTICE OF LODGING
                          [PROPOSED] JUDGMENT IN A CIVIL ACTION
